      Case 8:25-cv-00201-DLB            Document 97-3         Filed 06/27/25   Page 1 of 3



                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND


 CASA, INC. et al.,

                Plaintiffs,

        v.
                                                            Case No.: 8:25-cv-00201-DLB
 DONALD J. TRUMP et al.,

                Defendants.




                                 DECLARATION OF ASHLEY


       I, Ashley, upon my personal knowledge, hereby submit this declaration pursuant to 28

U.S.C. § 1746 and declare as follows:

   1. I am more than 18 years of age and competent to testify, upon personal knowledge, to the

       facts set forth herein.

   2. Because I fear retaliation, and in order to protect the identity of myself and my newborn

       child, I am using a pseudonym. Every few years my husband and I need to renew our

       visas with USCIS; similarly, if we change our jobs or addresses we have to go to USCIS

       to get approval. Given our many interactions with USCIS and the current political

       environment, I am afraid that if our identity is known, USCIS could deny our requests in

       retaliation for our participation in this lawsuit.

   3. I also worry about members of the public knowing my name or my child’s name, and

       whether they will seek us out to harm us if they disagree with our viewpoint that
  Case 8:25-cv-00201-DLB           Document 97-3        Filed 06/27/25      Page 2 of 3



   birthright citizenship is a guarantee and a right under the U.S. Constitution. I am

   particularly concerned about the risk to my child’s privacy, since my child is so young

   and vulnerable.

4. I have been living in the United States lawfully for over 10 years. I first entered on a

   student visa while I was pursuing my master’s degree.

5. After I completed my Optional Practical Training work authorization with my student

   visa, I was approved to convert to an H-1B visa and have held that status since then. I

   work in the process engineering field.

6. My husband entered the U.S. lawfully as an H-4 dependent in 2020, and he was later

   independently approved for an H-1B visa through his employer. My husband continues

   to hold his H-1B visa. My husband works in the finance and strategy field.

7. Several years ago, I also applied for my green card and was approved for the first step.

   Because of this approval, so long as my employer sponsors me, I am able to renew my H-

   1B visa indefinitely while I wait in the queue for my green card.

8. Our child, K.K., was born after February 19, 2025, in Texas. My husband, K.K., and I

   currently live in the state of Washington.

9. My husband and I want K.K. to be a U.S. citizen to be protected by the full rights and

   freedoms granted under the U.S. Constitution. Citizenship will provide K.K. access to

   essential services and legal protections exclusive to U.S. citizens, supporting K.K.’s well-

   being, safety, and security. Our child was born in and is being raised in the United States.

   As a citizen, K.K. will be able to fully participate in American life, engage in civic

   responsibilities, and develop a strong sense of belonging. This foundation will be critical

   for K.K.’s emotional and social development. Furthermore, U.S. citizenship will allow


                                             2
      Case 8:25-cv-00201-DLB           Document 97-3         Filed 06/27/25     Page 3 of 3



       K.K. to access education and career opportunities that are vital to K.K.’s future success

       and ability to make meaningful contributions to American society. Without it, K.K. risks

       being treated as an outsider – limiting not only K.K.’s potential, but also the contributions

       K.K. could offer to the American community.

   10. I am afraid of what it would mean for our family if the government were to deny K.K.

       U.S. citizenship. My husband and I both have legal status here, yet the thought that our

       U.S.-born child’s citizenship could be questioned feels destabilizing and unjust. We have

       built our lives here and want nothing more than to raise K.K. together in the only home

       K.K. has ever known. But if K.K.’s citizenship were stripped away, we don’t know what

       options would remain—K.K. has no citizenship in any other country. The uncertainty

       about travel, belonging, and even basic protections is distressing. We want K.K. to grow

       up American, surrounded by the culture, community, and identity that K.K. will know

       since birth. In the future, forcing K.K. to leave that behind would not only be traumatic—

       it would be a violation of K.K.’s sense of self.

   11. I understand that I am being asked to serve as a class representative in the name of my

       newborn baby on behalf of other people in a similar situation to my child. I am willing to

       serve as class representative because I think it is important to fight not only on behalf of

       my child, but also on behalf of other children and families in a similar situation to us.

I declare under penalty of perjury that the foregoing is true and correct.



DATED: June 22, 2025


                                                                                Ashley


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